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 7
 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10    PRITISH VORA,                               Case No. 8:19-cv-00302-AG-KES
11                 Plaintiff,                     Hon. Andrew J. Guilford
12    v.
                                                  JOINT REPORT OF PARTIES
13                                                [Fed. R. Civ. P. 26(f)]
14    EQUIFAX INFORMATION
      SERVICES, LLC, EXPERIAN                     Scheduling Conference:
15                                                Date: April 8, 2019
      INFORMATION SOLUTIONS, INC.,
16    and TRANS UNION, LLC,                       Time: 9:00 a.m.
17
                  Defendants.
18
19
20    1. Parties Attending Rule 26 Meeting.
21          Pursuant to Federal Rule of Civil Procedure 26(f), a meeting was held on
22    March 13, 2019, and was attended by Plaintiff Pritish Vora; Kristin Marker, on
23    behalf of Trans Union LLC (“Trans Union”); Sheereen Javadizadeh on behalf of
24    Experian Information Solutions, Inc. (“Experian”); and Tom Quinn on behalf of
25    Equifax Information Services, LLC. Following the meeting, the parties continued
26    to communicate via email to prepare and finalize a joint report.
27    2. Unserved Parties.      As of March 28, 2019 all parties have been served and

28    have appeared.

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 1    3. Pre-Discovery Disclosures.
 2            The parties will exchange the information required by Federal Rule of Civil
 3    Procedure 26(a)(1) within 14 days after the Scheduling Conference set for April
 4    8, 2019.
 5    4.      Consent to Service By Electronic Means
 6            Defendants Trans Union, Equifax, and Experian: The parties, through their
 7    undersigned counsel, agree that pursuant to Rule 5(b)(2)(E) and 6(d) of the
 8    Federal Rules of Civil Procedure, any pleadings or other papers may be served by
 9    sending such documents by email to the primary and secondary email addresses
10    of all counsel of record (or any updated email address provided to all counsel of
11    record). The parties also agree, upon request, to promptly (no later than the
12    second business day after the day of service) provide the sending party with
13    confirmation of receipt of the service by email. The format to be used for
14    attachments to any email message shall be Microsoft Word (.doc) or Adobe

15    Acrobat (.pdf). If an error or delayed delivery message is received by the sending

16    party, that party shall promptly (within one business day of receipt of such

17    message) notify the intended recipient of the message and serve the pleading or

18    other papers by other authorized means.

19    5. Discovery Plan.
20            To comply with the requirements of Rule 26(f), Defendants Trans Union,
21    Equifax, and Experian jointly propose to the Court the following discovery plan:
22    a) All discovery will be commenced in time to be completed by October 4,
23    2019.
24            Number of interrogatories and length of depositions shall be as set forth in
25    the Federal Rules of Civil Procedure. The parties agree to telephonic depositions
26    of out-of-state witnesses. The parties propose that no more than 35 document
27    requests and no more than 35 requests for admission shall be served per party.
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 1          The parties agree to the production of documents stored in electronic
 2    format in .pdf (Portable Document Format) or in hard copy. The parties further
 3    agree to limit discovery of documents stored in electronic format to live, online
 4    locations.
 5    b) Reports from retained experts under Federal Rule of Civil Procedure
 6    26(e)(a)(2) due:
 7          From Plaintiff: July 8, 2019 (initial)
 8          From Defendants: August 8, 2019 (initial and rebuttal)
 9          From Plaintiff: September 6, 2019 (rebuttal)
10          All expert witness depositions shall be completed by October 4, 2019.
11          Supplementations to evidentiary disclosures and discovery shall be made as
12    provided in Federal Rule of Civil Procedure 26(e).
13    6. Join Parties/Amend Pleadings.
14          The parties should be allowed until May 10, 2019 to join additional parties
15    and/or amend the pleadings.
16    7. Dispositive Motions.
17         All potential dispositive motions should be heard by January 31, 2020.
18    8. Pretrial Conference.
19          The parties request a pretrial conference in April, 2020.
20    9. Pretrial Documents.
21          Final lists of witnesses, exhibits and deposition designations should be due
22    21 days prior to the date of the Pretrial Conference pursuant to the applicable
23    Federal Rules of Civil Procedure and this Court’s Local Rules.
24          The parties should have 10 days after service of final lists of witnesses,
25    exhibits and deposition designations to serve and file objections pursuant to the
26    applicable Federal Rules of Civil Procedure and this Court’s Local Rules.
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 1    10. Trial Setting.
 2          The case should be ready for trial by April 2020 and at this time is expected
 3    to take approximately 2-3 days. Plaintiff has requested a Jury Trial.
 4    Defendant Trans Union: Defendant Trans Union expects to call approximately 3-
 5    5 witnesses (Plaintiff, expert, its own representative, and possible third-party
 6    representatives).
 7    Defendant Equifax: Defendant Equifax expects to call approximately 3 to 7
 8    witnesses (Plaintiff; expert, potentially; its own representative; possible third
 9    party representatives; and witnesses to Plaintiff’s claimed damages, potentially).
10    Defendant Experian: Defendant expects to call approximately 3 to 5 witnesses
11    (Plaintiff, an Experian representative, any potential experts, and possible third-
12    party representatives).
13    11. Other Discovery plan items:
14          a. Protective Orders:
15          Defendants Trans Union, Equifax, and Experian: The parties agree that the
16    subject matter of this lawsuit regarding alleged violations of the Fair Credit
17    Reporting Act, 15 U.S.C. § 1681 et seq., necessarily will involve the discovery of
18    certain confidential and proprietary trade secret and other information. As a means
19    of avoiding dispute with respect to requests for such confidential information, the
20    parties anticipate moving for the entry of a Protective Order to govern the
21    production and use of trade secret or other confidential research, development or
22    commercial information in this case. Accordingly, at an appropriate time, the
23    parties will confer and submit a mutually agreeable proposed protective order for
24    entry with the Court.
25          b. Plaintiff seeks at least the following documents from the Credit
26    Bureau Defendants:
27    Plaintiff: Plaintiff refused to contribute to the proposed joint 26(f) plan.
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 1    Defendant Trans Union’s Response: Trans Union will produce all relevant
 2    documents, some of which may be subject to a protective order.
 3    Defendant Equifax’s Response: Equifax will produce all relevant documents,
 4    some of which may be subject to a protective order.
 5    Defendant Experian’s Response: Experian will produce all relevant documents,
 6    some of which may be subject to a protective order entered by the Court.
 7          c. Defendants seeks at least the following documents from Plaintiff:
 8          Defendant Trans Union: Defendant Trans Union seeks at least the
 9    following documents from Plaintiff:       Copies of all correspondence between
10    Plaintiff and Defendant Trans Union; copies of all correspondence between
11    Plaintiff and LVNV Funding, LLC; copies of all documents that support each of
12    Plaintiff’s claims against Trans Union including Plaintiff’s claim that he is not
13    responsible for the LVNV collection; copies of all documents that support and
14    otherwise relate to any damage claim Plaintiff is making in this case; copies of all

15    documents that support each of Plaintiff’s claims against Trans Union; and copies

16    of all documents that support or otherwise relate to any damage claim Plaintiff is

17    making in this case.

18          Defendant Equifax: Equifax seeks at least the following documents from

19    Plaintiff: Copies of all correspondence between Plaintiff and Defendant Equifax;
      copies of all correspondence between Plaintiff and Capital One and LVNV
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      Funding, LLC; copies of all documents that support each of Plaintiff’s claims
21
      against Equifax including Plaintiff’s claim that he is not responsible for the
22
      LVNV collection; copies of all documents that support and otherwise relate to
23
      any damage claim Plaintiff is making in this case; copies of all documents that
24
      support each of Plaintiff’s claims against Equifax; and copies of all documents
25
      that support or otherwise relate to any damage claim Plaintiff is making in this
26
      case; if Plaintiff is claiming physical and/or emotional distress damages,
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      Plaintiff’s medical and/or mental health records.
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 1          Defendant Experian: Defendant Experian seeks at least the following
 2    documents from Plaintiff: Copies of all correspondence between Plaintiff and
 3    Defendant Experian; copies of all correspondence between Plaintiff and LVNV
 4    Funding, LLC; copies of all correspondence between Plaintiff and Capital One
 5    Bank (USA) N.A.; copies of all correspondence between Plaintiff and Resurgent
 6    Capital Services, L.P.; copies of all documents that support each of Plaintiff’s
 7    claims against Experian; and copies of all documents that support or otherwise
 8    relate to any damage claim Plaintiff is making in this case.
 9    12. Subject Matter Jurisdiction: This action is brought under the federal Fair
10    Credit Reporting Act, 15 U.S.C. Section 1681 et seq.
11    13. Factual Basis of Plaintiff’s Claims:
12          Plaintiff’s Statement: Plaintiff refused to contribute to the joint 26(f) plan.
13          Defendant Trans Union’s Statement:
14          As discovery has just begun, Trans Union cannot provide this Court with a
15    complete factual background of the case as it relates specifically to Plaintiff.
16    Upon information and belief, Trans Union properly investigated Plaintiff’s
17    dispute as required by the FCRA, updated the information as appropriate, and
18    timely reported the results of the investigation to Plaintiff. At all relevant times,
19    Trans Union maintained and followed reasonable procedures to avoid violations
20    of the Fair Credit Reporting Act and assure maximum possible accuracy of the
21    information concerning Plaintiff in preparing consumer reports related to
22    Plaintiff. Trans Union accepted information regarding Plaintiff from reliable
23    sources. Trans Union may reasonably rely upon the creditor, the party actually
24    responsible for the reinvestigation under 1681 s-2(b). Trans Union has not acted
25    with malice, negligent, willful or reckless intent to harm Plaintiff, nor with
26    reckless or conscious disregard for the rights of Plaintiff, and Trans Union has
27    fully complied with the FCRA. Trans Union will also show that any alleged
28    damage suffered by Plaintiff was not caused by Trans Union.

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 1          In addition, at this time Trans Union does not have knowledge or
 2    possession of facts or documents controlled by the Plaintiff, Equifax, Experian, or
 3    furnisher LVNV Funding, LLC. Therefore, this statement is based on the facts
 4    known by Trans Union at this time. Trans Union makes this statement without
 5    waiving any defense and reserves the right to supplement this statement as the
 6    facts are developed.
 7          Defendant Experian’s Statement: Defendant Experian is a consumer
 8    reporting agency, as that term is defined by the Fair Credit Reporting Act
 9    (“FCRA”). Experian essentially functions as a storehouse of credit information
10    concerning hundreds of millions of consumers nationwide, collecting and storing
11    credit information originated by others. Experian does not generate credit
12    information itself, nor does it make loans, decide who should receive credit, or set
13    loan terms.
14          The FCRA is not a strict liability statute and does not require Experian to
15    maintain error free credit reporting. Rather, the FCRA requires consumer
16    reporting agencies like Experian to maintain and follow reasonable procedures to
17    assure the maximum possible accuracy of the information they report on
18    consumers. Additionally, the FCRA requires consumer reporting agencies to
19    timely reinvestigate if a consumer disputes information on his or her credit report.
20          Experian maintained and followed reasonable procedures to ensure the
21    maximum possible accuracy of the information on Plaintiff’s credit reports and
22    conducted reasonable reinvestigations of the disputed accounts. At all times,
23    Experian acted in good faith and without malice or intent to injure Plaintiff, and
24    did not act negligently. Therefore, Experian has no liability in this case. Experian
25    further denies it was the proximate cause of any damages alleged by Plaintiff.
26          Defendant Equifax’s Statement: Defendant Equifax Information Services
27    LLC is a consumer reporting agency as that term is defined in the Fair Credit
28    Reporting Act, 15 U.S.C. §1681 et seq. (“FCRA”). Equifax denies Plaintiff’s

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 1    claims and denies that it violated the FCRA. Equifax maintained reasonable
 2    procedures to assure maximum possible accuracy in its credit reports concerning
 3    Plaintiff and conducted a reinvestigation of Plaintiff’s dispute in compliance with
 4    the FCRA. Equifax denies that it caused any damage to Plaintiff and denies that
 5    Plaintiff is entitled to any of the relief sought in the Complaint. Equifax further
 6    denies that Plaintiff can support a claim for punitive damages in this action.
 7    14. Whether Case is Complex
 8          The case is not complex.
 9    15. Settlement Procedure:
10          Defendants Trans Union, Equifax, and Experian state that no meaningful
11    settlement discussions have taken place as of yet, as Plaintiff has not provided an
12    initial settlement demand. The likelihood of settlement cannot be ascertained at
13    this time, due to the limited discovery that has taken place. However, the parties
14    are amenable to settlement and are willing to participate in such discussions.
15          The parties request that this matter be referred to a settlement conference
16    with a magistrate judge.
17    16. Miscellaneous Schedule Items: None.
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 1                                   Respectfully submitted,

 2    Dated: April 2, 2019           MUSICK, PEELER & GARRETT LLP
 3
 4
                                     By: /s/ Donald Bradley
 5                                      Donald E. Bradley
 6                                      Kristin Marker
 7                                      Attorneys for Defendant TRANS UNION
                                        LLC
 8
 9
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10    Dated: April 2, 2019               Sheereen Javadizadeh
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                                         Information Solutions, Inc.
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18    Dated: April 2, 2019               NOKES & QUINN
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                                         /s/ Thomas P. Quinn, Jr.
20                                       THOMAS P. QUINN, JR.
                                         Attorneys for Defendant
21                                       EQUIFAX INFORMATION SERVICES
                                         LLC
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 1                             SIGNATURE CERTIFICATION

 2           Pursuant to Local Rule 5-4.3.4 (2), I hereby certify that the content of this
 3
       document is acceptable to all counsel on whose behalf this filing is submitted, and
 4
 5     that I have obtained their authorization to affix their electronic signature to this
 6
       document.
 7
 8     Dated: April 2, 2019                         NOKES & QUINN
 9                                                  /s/ Thomas P. Quinn, Jr.
10                                                  THOMAS P. QUINN, JR.
                                                    Attorneys for Defendant
11                                                  EQUIFAX INFORMATION
                                                    SERVICES LLC
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